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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


SHELDON ALLEN a/k/a “Glasses”,                                                   00-CR-54E
                                                                               04-CV-0029E
                       Petitioner,
                                                                             MEMORANDUM
                -vs-
                                                                                         and
UNITED STATES OF AMERICA,
                                                                                    ORDER1
                       Respondent.


      On January 14, 2004, petitioner Sheldon Allen a/k/a “Glasses”, proceeding

pro se, filed the instant motion pursuant to 28 U.S.C. §2255, seeking to set aside,

vacate or correct his sentence. On March 31, 2004 the government filed an

answer and memorandum of law in opposition to the motion urging its dismissal.

For the reasons stated, petitioner’s §2255 motion is denied.

                                       BACKGROUND

      In September 2000, petitioner was charged in a Second Superceding

Indictment with, inter alia, conspiracy to distribute and to possess with intent to

distribute 5 kilograms or more of cocaine, in violation of 21 U.S.C. §846. On May

9, 2003 petitioner executed a plea agreement and pled guilty to Count 3 of the

Second Superceding Indictment, the crime of conspiracy to distribute and to

possess with intent to distribute 5 kilograms or more of cocaine, which

constitutes a violation of 21 U.S.C. §846. On September 19, 2003, this Court

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          This decision may be cited in whole or in any part.
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sentenced petitioner to 169 months of imprisonment and five years of supervised

release. Petitioner took no appeal from either his conviction or sentence.

      In this motion, petitioner asserts that he was denied the effective

assistance of counsel and was “lured” into a sentence of 169 months of

incarceration because counsel (1) failed to make various pretrial motions as

petitioner instructed him, (2) failed to ensure that he could make a motion for

downward departure at the time of his sentencing, (3) failed to adequately

explain the consequences of signing the plea agreement and pleading guilty to

the charge and (4) colluded with the government in order to obtain petitioner’s

guilty plea. Petitioner does not seek to withdraw his plea of guilty but rather

seeks re-sentencing.

                                  DISCUSSION

      As part of his plea agreement, petitioner waived his right to appeal or

collaterally attack his sentence, provided such sentence fell within or below a

stipulated range. Specifically, paragraph 17 of the plea agreement provided:

      “The defendant understands that Title 18, United States Code,
      Section 3742 affords a defendant a limited right to appeal the
      sentence imposed. The defendant, however, knowingly waives the
      right to appeal, modify pursuant to Title 18, United States Code,
      Section 3582(c)(2) and collaterally attack any sentence imposed by
      the Court which falls within or is less than the sentencing range for
      imprisonment, a fine and supervised release set forth in Section II,
      above, notwithstanding the fact that the Court may reach the
      sentence by a Guidelines analysis different from that set forth in this
      agreement.”




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Plea Agreement ¶17. Petitioner’s sentencing guideline range was specified in

Section II, paragraph 11 of the plea agreement:

        “It is the understanding of the government and the defendant that,
        with a total offense level of 31 and criminal history category of IV, the
        defendant’s sentencing range would be a term of imprisonment of
        151 to 188 months, a fine of $15,000 to $4,000,000, and a period of
        supervised release of 5 years. Notwithstanding this, the defendant
        understands that at sentencing the defendant is subject to the
        minimum and maximum penalties set forth in paragraph 1 of this
        agreement.”

Plea Agreement ¶11.

        As stated above, the Court sentenced petitioner to 169 months of

incarceration and five years of supervised release. Because petitioner’s sentence

is within the stipulated guideline range, petitioner explicitly waived any right he

may have had to collaterally attack his sentence by means of a §2255 motion. See

Garcia-Santos v. United States, 273 F.3d 506, 509 (2d Cir. 2001); Mercedes v.

United States, 2002 WL 1974050, at *2 (S.D.N.Y. 2002). Even in the absence of this

explicit waiver, petitioner is precluded from collaterally attacking his sentence by

his waiver of the right to appeal therefrom. United States v. Pipitone, 67 F.3d 34,

39 (2d Cir. 1995).

        Petitioner does not specifically allege that the waiver of his right to appeal

or collaterally attack his sentence was not knowing and voluntary. Rather,

petitioner contends that his attorney failed to explain the consequences of his

plea.    Such assertion is belied by the fact that petitioner signed the plea

agreement which clearly sets forth the range of imprisonment petitioner faced

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upon his plea of guilty. Nevertheless, the Court has reviewed the transcript and

its own notes of petitioner’s plea colloquy and finds that all requirements of Rule

11 of the Federal Rules of Criminal Procedure were satisfied and that petitioner’s

waiver was knowing and voluntary. At the plea proceeding the Court reviewed

the written plea agreement with petitioner. Petitioner agreed with and admitted

to the factual basis for the charge to which he pled guilty. See Plea Transcript at

4. He also indicated that he understood that his sentence would be determined

in accordance with the Sentencing Guidelines. Id. at 6. The Court ensured that

petitioner understood that he had a right to have a jury determine whether or not

he was guilty of the crime charged and that his guilt would have to be proved

beyond a reasonable doubt. Petitioner further acknowledged that, by pleading

guilty to the charge, he was waiving his right to have his case determined by a

jury and was waiving the right to appeal his conviction. Id. at 8.

      To permit petitioner to collaterally attack his plea under §2255 would be to

condone an obvious circumvention of the plea agreement wherein petitioner

bargained away his right to appeal or collaterally attack his sentence. Such

cannot be permitted. As Second Circuit Court of Appeals has stated, “[t]he

government, [the] court, the public, and criminal defendants have legitimate

interests in the integrity of the plea bargaining process and the finality of the

sentences thus imposed.” Pipitone, supra at 39 (citations omitted). It is well

settled that “the waiver provision is a very important part of the [plea] agreement



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— the Government’s motivating purpose, decreased effort and expense of

protracted litigation, is not well-met if the defendant is permitted to appeal that

to which he has agreed.” United States v. Rosa, 123 F.3d 94, 97 (2d Cir. 1997).

      Petitioner cannot escape the waiver provision by dressing up his claims as

a violation of the Sixth Amendment right to effective assistance of counsel.

Petitioner is in reality challenging the correctness of his sentence under the

Sentencing Guidelines, and is therefore barred by the plain language of the

waiver contained in his plea agreement with the government. The Court will not

allow petitioner to assert a claim of ineffective assistance of counsel in order to

circumvent the unequivocal waiver of his right to appeal or collaterally attack his

conviction or sentence, as set forth in the plea agreement, and knowingly and

voluntarily acknowledged in open court at the time of his plea. To do so would

render the terms of such waiver provisions meaningless and unenforceable. See

United States v. Djelevic, 161 F.2d 104, 107 (2d Cir. 1988).

      Notwithstanding the fact that petitioner waived his right to appeal or

collaterally attack his sentence, the Court has reviewed petitioner’s claims of error

and finds them without merit. Petitioner claims that his attorney was ineffective

because he (1) failed to make several pre-trial motions seeking discovery from the

government and seeking the suppression of evidence; (2) failed to preserve

petitioner’s right to make a motion for downward departure at the time of

sentencing, (3) failed to adequately explain the consequences of signing the plea



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agreement and pleading guilty and (4) acted in concert with the government to

“lure” petitioner into the sentence imposed.

      All of petitioner’s arguments center on the alleged ineffectiveness of his

counsel. Once a petitioner has pled guilty, “[he] may only challenge the voluntary

and intelligent nature of the guilty plea by showing that the advice [he] received

from counsel was not within acceptable standards.” Tollett v. Henderson, 411

U.S. 258, 267 (1973).    In order to prove that counsel was Constitutionally

ineffective, petitioner must show (1) that counsel’s conduct fell below an objective

standard of reasonableness, and (2) that there is a reasonable probability that, but

for counsel’s errors, he would not have pleaded guilty and would have insisted

on going to trial. See United States v. Coffin, 76 F.3d 494, 497-98 (2d Cir. 1996).

Furthermore, “judicial scrutiny of counsel’s performance must be highly

deferential.” Strickland v. Washington, 466 U.S. 668, 689 (1984). There is “a

strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance *** that, under the circumstances, the

challenged action might be considered sound trial strategy.” Ibid. (internal

quotations and citations omitted). Petitioner has failed to satisfy either prong of

the Strickland test.

      Petitioner alleges that he asked counsel to file motions seeking discovery

and “Jencks material” and seeking to suppress certain evidence but counsel

failed to do so. Counsel’s failure to file the motions thought necessary by the



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petitioner is not a breach of duty. Petitioner has failed to specify what discovery

he sought, other than “Jencks” material, and counsel’s decision not to file such

motions may well have been one of strategy. Indeed, while petitioner claims

counsel should have sought disclosure of Jencks material, the text of the Jencks

Act itself, 18 U.S.C. §3500, reveals that such a motion is meritless. Under the

Jencks Act, the government cannot be compelled to disclose statements made by

a government witness until such time as that witness has testified on direct

examination at the trial of the case. See 18 U.S.C. §3500(a); see also Federal Rule

of Criminal Procedure 26.2. Counsel’s failure to file a meritless motion is not

ineffective assistance. Similarly, petitioner has advanced no argument to support

his contention that counsel should have made a motion to suppress “physical, oral

and tangible, identification, audio-recorded conversational evidence.”

      The Court is perplexed by petitioner’s next claim. In his various pleadings

petitioner makes three related — but inconsistent — arguments concerning a

downward departure motion. First, in his §2255 motion papers, petitioner claims

that counsel failed to preserve his right to move for a downward departure at the

time of sentencing. Next, in a separate “Motion for Correction of Sentence” which

was filed contemporaneously with the §2255 motion, petitioner contends that

“counsel advised the [petitioner] only a few minutes prior to [petitioner’s]

appearance for signing and entering into Plea agreement bargain before this

honorable court that the United States Attorney had agreed to [petitioner’s] right



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to file Downward Departure motions and thus giving [petitioner] hope for a lower

level on the sentencing Guideline chart.” See Aff. in Supp. of Mot. for Correction

of Sentence ¶3. Finally, in his traverse, petitioner contends that he was coerced

into pleading guilty by the “promise” of a downward departure and that he

indicated his disagreement with the relevant conduct contained in the plea

agreement in a May 6, 2003 letter to the Assistant United States Attorney.2 See

Traverse at 3-4.

      The Court finds no merit in any of petitioner’s contentions regarding a

downward departure. First, even if the right to make a departure motion was not

preserved in the plea agreement, the Court’s records and the Sentencing

Transcript indicate unequivocally that such a motion was made. Therefore, since

the motion was made and considered, petitioner’s claim of error in the failure to

preserve the right to make the motion is moot. Petitioner’s claim that he was

“promised” a downward departure is contradicted by his own prior argument

that counsel advised him that he would make such a motion, thus giving

petitioner “hope” for a lower sentence.           The claimed “promise” is further

contradicted by petitioner’s own words at the time of his sentencing. At that

time, petitioner stated:

      “And as I said, I asked [counsel] if there was some way that they
      could go - - that’s why I asked for the departure, because I was trying


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        Although he contends that he objected to the quantity of cocaine with which he was
charged in a May 6, 2003 letter to the government, any such objection is mooted by his
admission on May 9, 2003 to the conduct charged.

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      to get down to at least the ten-year minimum. And that’s actually
      what I sent to Mr. Karaszewski in the letter, that I was perfectly
      happy with the ten-year statutory minimum.”

Sentencing Transcript at 6. Finally, as indicated, counsel did file and argue a

motion for downward departure at the time of sentencing. That the Court

rejected counsel’s arguments concerning the necessity for a downward departure

does not indicate ineffectiveness on the part of counsel. Although there seemed

to be a dispute as to whether such motion was properly filed, it is clear that the

motion was made and argued but denied by the Court. These facts fail to

demonstrate ineffective assistance of counsel.

      Likewise, the Court finds no support for petitioner’s final two assertions —

i.e., that counsel failed to adequately explain the consequences of petitioner’s

guilty plea and that petitioner’s counsel collaborated with the government to

“lure” petitioner into the sentence imposed. Petitioner fails to allege any facts to

support his contention that counsel failed to explain the consequences of his plea.

Moreover, his argument is belied by his statements at the time he entered his

guilty plea and at the time of sentencing. Specifically, at sentencing petitioner

stated:

      “Well, sir, I’m a little nervous right now, but all I can say is all
      through this Mr. Karaszewski, he’s been fair with me. I’ll give him
      he’s been fair. I’ve got a few points of law that I would like to argue
      with him, but other than that he’s been extremely fair with me. All
      the agents have been fair with me. My lawyer’s been fair with me.”

Sentencing Transcript at 5 (emphasis added).



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      Petitioner’s final assertion that his attorney collaborated with the

government in order to obtain his guilty plea is unsupported by the record. In

exchange for petitioner’s guilty plea, counsel negotiated for the government’s

withdrawal of an information it had filed pursuant to 21 U.S.C. §851 wherein the

government had asserted petitioner’s prior conviction for 5th Degree Criminal

Possession of a Controlled Substance and whereby the government could have

sought enhanced penalties pursuant to 21 U.S.C. §841(b)(1)(A). Such agreement

resulted in petitioner’s avoidance of a 20-year statutory mandatory minimum

period of incarceration — a substantial benefit. Therefore, counsel’s performance

cannot be said to be Constitutionally ineffective or unreasonable.

      Finally, even if counsel’s conduct could be considered Constitutionally

ineffective, petitioner has failed to even allege — much less show — a reasonable

probability that, but for these alleged errors, he would not have pled guilty and

would have gone to trial.

                                   CONCLUSION

      For the reasons stated, it is hereby ORDERED that petitioner’s §2255

motion is denied. The Clerk of the Court is directed to take all steps necessary to

close this case.

      The Court finds that petitioner has failed to make a substantial showing of

the denial of a constitutional right and therefore a certificate of appealability will

not be issued. 28 U.S.C. §2253(c)(2).



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     The Court certifies pursuant to 28 U.S.C. §1915(a)(3), that any appeal from

this judgment would not be taken in good faith, and therefore denies leave to

appeal in forma pauperis. Further requests to proceed on appeal in forma

pauperis must be filed with the United States Court of Appeals for the Second

Circuit in accordance with the requirements of Rule 24 of the Federal Rules of

Appellate Procedure.

DATED:      Buffalo, N.Y.

           October 17, 2005


                                             /s/ John T. Elfvin
                                             JOHN T. ELFVIN
                                                   S.U.S.D.J.
